   Case 1:13-cv-04938 Document 386 Filed 11/07/18 Page 1 of 4 PageID #: 8296



                                               Representing Management Exclusively in Workplace Law and Related Litigation
                                               Jackson Lewis P.C.   ALBANY, NY           GREENVILLE, SC         MINNEAPOLIS, MN          PROVIDENCE, RI
                                                                    ALBUQUERQUE, NM      HARTFORD, CT           MONMOUTH COUNTY, NJ      RALEIGH, NC
                                              44 South Broadway
                                                                    ATLANTA, GA          HONOLULU, HI*          MORRISTOWN, NJ           RAPID CITY, SD
                                                       14th Floor   AUSTIN, TX           HOUSTON, TX            NEW ORLEANS, LA          RICHMOND, VA
                                           White Plains NY 10601    BALTIMORE, MD        INDIANAPOLIS, IN       NEW YORK, NY             SACRAMENTO, CA
                                                Tel 914 872-8060    BIRMINGHAM, AL       JACKSONVILLE, FL       NORFOLK, VA              SALT LAKE CITY, UT
                                                                    BOSTON, MA           KANSAS CITY REGION     OMAHA, NE                SAN DIEGO, CA
                                               Fax 914 946-1216
                                                                    CHICAGO, IL          LAS VEGAS, NV          ORANGE COUNTY, CA        SAN FRANCISCO, CA
                                           www.jacksonlewis.com     CINCINNATI, OH       LONG ISLAND, NY        ORLANDO, FL              SAN JUAN, PR
                                                                    CLEVELAND, OH        LOS ANGELES, CA        PHILADELPHIA, PA         SEATTLE, WA
                                                                    DALLAS, TX           MADISON, WI            PHOENIX, AZ              ST. LOUIS, MO
                                                                    DAYTON, OH           MEMPHIS, TN            PITTSBURGH, PA           TAMPA, FL
                                                                    DENVER, CO           MIAMI, FL              PORTLAND, OR             WASHINGTON DC REGION
                                                                    DETROIT, MI          MILWAUKEE, WI          PORTSMOUTH, NH           WHITE PLAINS, NY
                                                                    GRAND RAPIDS, MI

                                                                    *through an affiliation with Jackson Lewis P.C., a Law Corporation




DIRECT DIAL: (631) 247-4661
EMAIL: NOEL.TRIPP@JACKSONLEWIS.COM



                                                                    November 7, 2018

VIA ECF

Hon. LaShann DeArcy Hall
United States District Judge
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

                                     Re:    Fernandez, et al. v. Kinray, Inc., et al.
                                            Civil Action No.: 13-CV-4938

Dear Judge DeArcy Hall:

        On behalf of Defendants, we write pursuant to the Court’s November 1, 2018 direction
(Minute Order 11/01/2018) to provide the Court with the enclosed comparisons of Plaintiffs’
Complaint (Dkt. 1) (“Original Complaint”), First Amended Complaint (Dkt. 191-3) (“FAC”) and
Second Amended Complaint (Dkt. 379) (“SAC”), and to further illustrate the SAC’s attempted
post-discovery expansion of Plaintiffs’ claims.

        Comparison of Claims Asserted. On September 4, 2013, named plaintiffs Freddy
Fernandez, Luis Velasquez, and Giovanny Gonzalez filed the Original Complaint on behalf of
themselves, “all other current and former Defendants’ delivery drivers (“Drivers”) throughout
New York, New Jersey, and Connecticut” (the “Putative Collective”), Dkt. 1 ¶ 2, and “all similarly
situated current and former Drivers who worked for Defendants in New York” (the “Putative
Class”). Id. ¶ 3. In the Original Complaint, plaintiffs alleged that “Defendants misclassified their
Drivers as independent contractors,” Dkt. 1 ¶ 4, and asserted (i) overtime claims under the Fair
Labor Standards Act, 29 U.S.C. §§ 201 et seq. (“FLSA”) and NYLL on behalf of themselves and
Putative Collective and Putative Class, respectively, Dkt. 1 ¶¶ 88-101, (ii) wage notice claims
  Case 1:13-cv-04938 Document 386 Filed 11/07/18 Page 2 of 4 PageID #: 8297

                                                                           Hon. LaShann DeArcy Hall
                                                                                      USDC/EDNY
                                                                                   November 7, 2018
                                                                                             Page 2

under NYLL §§195 on behalf of themselves and the Putative Class, Dkt. 1 ¶ 102-104, and (iii)
unlawful deductions and untimely payment of wages claims under NYLL §§191, 193 on behalf of
themselves and the Putative Class. Dkt. 1 ¶¶ 105-109.

        On July 7, 2014, Plaintiffs filed the FAC on behalf of fifteen individuals (which included
the three named plaintiffs from the Original Complaint)—six of whom Plaintiffs described as
“Owner-Operator Drivers,” Dkt. 191-3 ¶ 18, five of whom Plaintiffs described as “Owner-
Operator Drivers with Helpers,” Dkt. 191-3 ¶ 19, two of whom Plaintiffs described as “Helpers,”
Dkt. 191-3 ¶ 20, and two of whom Plaintiffs described as “Stand-By and Extra” Drivers, Dkt. 191-
3 ¶ 22—and several different classes and collectives comprised of other Owner-Operator Drivers,
Owner-Operator Drivers with Helpers, Helpers, and Stand-By and Extra Drivers. Dkt. 191-3 ¶¶
23-81. In the FAC, Plaintiffs alleged that they and the members of the putative classes and
collectives were misclassified as independent contractors and asserted (i) unpaid overtime claims
under the FLSA and NYLL on behalf of themselves and the putative collectives and classes,
respectively, Dkt. 191-3 ¶¶ 281-294, (ii) wage notice violation claims under the NYLL on behalf
of themselves and the putative classes, Dkt. 191-3 ¶¶ 295-297, and (iii) unlawful deductions and
untimely payment of wages claims under the NYLL on behalf of themselves and the putative
classes. Dkt. 191-3 ¶¶ 298-302. Named plaintiff Freddy Fernandez (an Owner-Operator Driver
with Helper) also asserted individual retaliation claims under the FLSA and NYLL, based on an
allegation that Defendants terminated his contracts in retaliation for filing the Complaint. Dkt.
191-3 ¶¶ 303-320.

        On October 17, 2018, Plaintiffs filed the SAC on behalf of named plaintiffs Freddy
Fernandez, Esmeralda Amaya, Rafael Casasola, Arturo Coello, Franky Dorado, Paula Dorado,
Ruben Espinoza, Julio Gomez, Giovanny Gonzalez, Neil Guzman, Henry Narvaez, Luis Fernando
Navarrete, Maria Romero, Freddy Vasquez, Luis Velasquez, Frank Rodriguez, Yolanda Aguirre,
Miguel Bautista, Arthur Fernandez, Alexis Franco, Jorge Gamarra, Orlando Ocampo, Adrianna
Renteria, Oscar Eduardo Renteria, and David Villarejo. Dkt. 379. The SAC asserts the same
causes of action (overtime, wage notice violation, and unlawful deductions and untimely payment
of wages claims) as asserted in the FAC, except they are only asserted on behalf of the named
plaintiffs. Moreover, by not limiting them in time, Plaintiffs seek to assert those claims for the
intervening post-discovery years between the FAC and SAC. Dkt. 379 ¶¶ 325-355. The SAC also
includes plaintiff Freddy Fernandez’s individual retaliation claims. Dkt. 379 ¶¶ 356-364.

        Defendants’ practices significantly changed in the interim between the FAC and the
SAC. At the time of the Original Complaint, all of the plaintiffs were either (i) parties to
Independent Contractor Agreements (“ICAs”) to provide delivery services to Kinray, (ii)
proprietors of corporations which were parties to ICAs to provide delivery services to Kinray, ((i)
and (ii) collectively, “Routeholders”), or helpers who were not parties to ICAs with Kinray but
were engaged by Routeholders to perform delivery services on the Routeholders’ behalf
(“Helpers.”). Dkt. 338-1 ¶ 8. Similarly, at the time of the FAC, all but one of the plaintiffs were
Routeholders or Helpers.
    Case 1:13-cv-04938 Document 386 Filed 11/07/18 Page 3 of 4 PageID #: 8298

                                                                                      Hon. LaShann DeArcy Hall
                                                                                                 USDC/EDNY
                                                                                              November 7, 2018
                                                                                                        Page 3

        It is undisputed that Kinray terminated the ICAs in two phases, one in 2013 prior to
commencement of this action (but following which time most Plaintiffs continued to hold ICAs)
and the second in 2015 while this litigation was ongoing. Dkt. 338-1 ¶¶ 17-18; Dkt. 363 p.3. It
is also undisputed that as of September, 2015, Kinray was no longer a party to a contract with any
Plaintiff.1 Dkt. 338-1 ¶¶ 17-19. As a result of this change in circumstances subsequent to the
filing of the FAC, the allegation in Paragraph 17 of the SAC that “from December 21, 2010 to the
present,” Defendant Cardinal Health, Inc. “is an employer of Plaintiffs within the meaning of the
FLSA,” Dkt. 379 ¶ 17 (emphasis added), dramatically expands the scope of Plaintiffs’ claims
beyond what was or could have been asserted in the FAC, and beyond the scope addressed by
discovery conducted in 2014 and the first half of 2015.

        The filing date of the FAC governs the end date for Plaintiffs’ claims. During the more
than four year period between the filing of the FAC and the filing of the SAC, the parties engaged
in discovery (the scope of which, necessarily, was defined by the then-operative pleading), see 2
Moore’s Federal Practice – Civil § 8.04 (2018), to develop the factual record for summary
judgment. In the SAC, however, Plaintiffs improperly purport to expand the scope of this litigation
to encompass claims which had not yet accrued as of the date the FAC was filed and were thus not
subject to discovery or the subsequently decided motion for summary judgment. See e.g.,
Maldonado v. BTB Events & Celebrations, Inc., 990 F. Supp. 2d 382, 384 n.3 (S.D.N.Y. 2013)
(deciding sua sponte that the end date for plaintiffs’ claims was the date the amended complaint
was filed where plaintiffs’ amended complaint did “not specify a fixed end date”).

        It is axiomatic that a complaint cannot assert a cause of action before it has accrued. A
cause of action for unpaid overtime under the FLSA “accrues with each payday following an
allegedly unlawful pay period.” Hosking v. New World Mort., Inc., 602 F. Supp. 2d 441, 445
(E.D.N.Y. 2009) (internal quotation omitted); see also Gunawan v. Sake Sushi Rest., 897 F. Supp.
2d 76, 82 (E.D.N.Y. 2012) (recognizing that a claim for unpaid overtime does not ripen until “the
date the employee should have been paid”); Acosta v. Yale Club, 94 Civ. 0888, 1995 U.S. Dist.
LEXIS 14881, at *9 (S.D.N.Y. Oct. 12, 1995) (“In FLSA cases involving overtime pay, a new
cause of action accrues for purposes of § 255(a) at each regular payday immediately following the
workweek during which services were rendered and for which overtime compensation is
claimed.”). The FAC was filed on July 4, 2014.

       Thus, to the extent Plaintiffs claim that they are owed overtime for services rendered during
any period for which they allege the “payday” was later than July 4, 2014, such claims were not,
and indeed could not have been, asserted in the FAC. Accordingly, there has been no viable
pleading under Fed. R. Civ. P. 8 as to such later-period claims, nor have those claims been the
subject of discovery. Indeed, the December 15, 2015 Bellwether Stipulation entered into for

1
  Kinray has since entered into an agreement with TXX Services Inc. (“TXX”) to provide delivery services to its
customers. Kinray has no control or input into, or knowledge of, the relationship between TXX and the individuals
who provide delivery services under the Kinray’s agreement with TXX. Plaintiffs’ counsel are pursuing a separate
class action litigation challenging TXX’s classification of individuals providing delivery services.
   Case 1:13-cv-04938 Document 386 Filed 11/07/18 Page 4 of 4 PageID #: 8299

                                                                            Hon. LaShann DeArcy Hall
                                                                                       USDC/EDNY
                                                                                    November 7, 2018
                                                                                              Page 4

purposes of the summary judgment motion practice in this case expressly defined the subject
Plaintiffs as individuals who “held contracts to provide delivery services to Kinray” and those who
assisted them. Dkt. 285 ¶ 2. All parties contemplated that the “contracts” referenced in the
Stipulation were the ICAs between Plaintiffs and Kinray. Notwithstanding the exclusion of post-
July 2014 claims from the FAC, in the SAC, Plaintiffs allege that, “from December 21, 2010 to
the present,” Defendant Cardinal Health, Inc. “is an employer of Plaintiffs within the meaning of
the FLSA,” Dkt. 379 ¶ 17 (emphasis added), and that “[a]t all relevant times, Defendants have
been, and continue to be, employers of Plaintiffs . . .” Id. at ¶ 333. By including these allegations
in the SAC, Plaintiffs have violated the spirit, if not the letter, of the Court’s directive in the
October 5, 2018 Minute Entry and Order to file a second amended complaint which “shall include
allegations already pleaded in the amended complaint as well as additional allegations for
bellwether Plaintiffs for whom the amended complaint did not include allegations.”

       Accordingly, Defendants respectfully request that the Court issue an Order setting July 7,
2014 as the end date for Plaintiffs’ claims.

                                                      Respectfully submitted,

                                                      JACKSON LEWIS P.C.

                                                      /s/ Noel P. Tripp
